                 Case 1:15-cr-00128-LJO-SKO
                                IN THE UNITED Document 27 FiledCOURT
                                              STATES DISTRICT   06/11/15 Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                               CR NO: 1:15CR128 LJO SKO (001)

AARON DASHAWN CRAWFORD

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ‫ ܈‬Ad Prosequendum                                   ‫ ܆‬Ad Testificandum
Name of Detainee:      AARON DASHAWN CRAWFORD
Detained at            FRESNO COUNTY JAIL
Detainee is:           a.)  ‫ ܆‬charged in this district by: ‫ ܈‬Indictment ‫ ܆‬Information ‫ ܆‬Complaint
                              charging detainee with:
                  or   b.)  ‫ ܆‬a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ‫ ܈‬return to the custody of detaining facility after appearing on June 15, 2015 @1:00 pm
                  or   b.)      ‫ ܆‬be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

                       Appearance is necessary June 15, 2015 in the Eastern District of California.

                       Signature:                              /s/ Kathleen A. Servatius
                       Printed Name & Phone No:                Kathleen A. Servatius
                       Attorney of Record for:                 United States of America

                                             WRIT OF HABEAS CORPUS
                             ‫ ܈‬Ad Prosequendum                   ‫ ܆‬Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on June 15, 2015 at 1:00 p.m., and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
Dated:      June 10, 2015                                  /s/ Barbara A. McAuliffe
                                                           Honorable Barbara A. McAuliffe
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ‫܈‬Male    ‫܆‬Female
Booking or CDC #:       1520190 (person ID 7064292)                                        DOB:     04/24/1995
Facility Address:                                                                          Race:
Facility Phone:                                                                            FBI#:    476813AE6
Currently                                                                                  CII      AXXXXXXXX

                                                   RETURN OF SERVICE
Executed on:
                                                            (signature)
